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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1482V
                                        UNPUBLISHED


    MARY RIVIERE,                                            Chief Special Master Corcoran

                        Petitioner,                          Filed: November 8, 2019
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                          Causation-In-Fact; Pneumococcal
                                                             Conjugate Vaccine; Cellulitis
                        Respondent.


Shealene Priscilla Mancuso, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

       On September 26, 2018, Mary Riviere filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered cellulitis, sepsis injuries and left
extremity injuries caused in fact by the administration of the pneumococcal conjugate
vaccine she received on November 3, 2016. Petition at 1, ¶¶ 2, 14. Petitioner further
alleges that she received the influenza vaccination in the United States, that she
suffered the residual effects of her injuries for more than six months, and that neither
she nor any other party has filed a civil action or received compensation for her injuries,
alleged as vaccine caused. Petition at ¶¶ 2, 14-16. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

1I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On November 8, 2019, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent “[has] concluded that a preponderance of the
medical evidence establishes that petitioner’s left upper extremity cellulitis was caused-
in-fact by the pneumococcal vaccine she received on November 3, 2016.” Id. at 4.
Respondent further agrees that “based on the record as it now stands, petitioner has
satisfied all legal prerequisites for compensation under the Vaccine Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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